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                                                                 10
                                                                                                   UNITED STATES BANKRUPTCY COURT
                                                                 11
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                                                                                       CENTRAL DISTRICT OF CALIFORNIA, SANTA ANA DIVISION
                                                                 12
Greenspoon Marder LLP




                                                                      In re                                            Case No. 8:23-bk-10571-SC
                                                                 13
                                                                    THE LITIGATION PRACTICE GROUP,                     Chapter 11
                                                                 14 P.C.,
                                                                                                                       Adv. No. 8-23-ap-01046-SC
                                                                 15                     Debtor.
                                                                                                                       ORDER APPROVING STIPULATION
                                                                 16                                                    FOR EXTENSION OF TIME TO
                                                                                                                       RESPOND TO AMENDED COMPLAINT
                                                                 17                                                    FOR: (1) INJUNCTIVE RELIEF; (2)
                                                                                                                       AVOIDANCE, RECOVERY, AND
                                                                 18                                                    PRESERVATION OF TWO-YEAR
                                                                                                                       ACTUAL FRAUDULENT TRANSFERS;
                                                                 19                                                    (3) AVOIDANCE, RECOVERY, AND
                                                                                                                       PRESERVATION OF TWO-YEAR
                                                                 20                                                    CONSTRUCTIVE FRAUDULENT
                                                                                                                       TRANSFERS; (4) AVOIDANCE,
                                                                 21                                                    RECOVERY, AND PRESERVATION OF
                                                                                                                       FOUR-YEAR ACTUAL FRAUDULENT
                                                                 22                                                    TRANSFERS; (5) AVOIDANCE,
                                                                                                                       RECOVERY, AND PRESERVATION OF
                                                                 23                                                    FOUR-YEAR CONSTRUCTIVE
                                                                                                                       FRAUDULENT TRANSFERS; AND (6)
                                                                 24                                                    TURNOVER

                                                                 25                                                    DATE:
                                                                                                                       TIME:  [No Hearing Required]
                                                                 26                                                    PLACE:
                                                                 27                                                    [RELATES TO DOCKET NO. 107]

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                                                                  1 RICHARD A. MARSHACK, solely in his
                                                                    capacity as chapter 11 trustee,
                                                                  2
                                                                                  Plaintiff,
                                                                  3
                                                                           vs.
                                                                  4
                                                                    TONY DIAB, an individual; DANIEL S.
                                                                  5 MARCH, an individual; ROSA BIANCA
                                                                    LOLI, an individual; LISA COHEN, an
                                                                  6 individual; WILLIAM TAYLOR CARSS, an
                                                                    individual; ENG TAING, an individual;
                                                                  7 HENG TAING, an individual; MARIA
                                                                    EEYA TAN, an individual; JAKE AKERS,
                                                                  8 an individual; HAN TRINH, an individual;
                                                                    JAYDE TRINH, an individual; WES
                                                                  9 THOMAS, an individual; SCOTT JAMES
                                                                    EADIE, an individual; JIMMY CHHOR, an
                                                                 10 individual; DONGLIANG JIANG, an
                                                                    individual; MAX CHOU, an individual;
                                                                 11 OAKSTONE LAW GROUP PC;
                                                                    GREYSON LAW CENTER PC; PHOENIX
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                                                                 12 LAW, PC; MAVERICK MANAGEMENT
                                                                    GROUP, LLC; LGS HOLDCO, LLC;
Greenspoon Marder LLP




                                                                 13 CONSUMER LEGAL GROUP, P.C.;
                                                                    VULCAN CONSULTING GROUP LLC;
                                                                 14 BAT INC. d/b/a COAST PROCESSING;
                                                                    PRIME LOGIX, LLC; TERACEL
                                                                 15 BLOCKCHAIN FUND II LLC; EPPS;
                                                                    EQUIPAY; AUTHORIZE.NET; WORLD
                                                                 16 GLOBAL; OPTIMUM BANK HOLDINGS,
                                                                    INC. d/b/a OPTIMUM BANK; MARICH
                                                                 17 BEIN, LLC; BANKUNITED, N.A.;
                                                                    REVOLV3, INC.; FIDELITY NATIONAL
                                                                 18 INFORMATION SERVICES, INC. d/b/a
                                                                    FIS; WORLDPAY, LLC; WORLDPAY
                                                                 19 GROUP; MERIT FUND, LLC; GUARDIAN
                                                                    PROCESSING, LLC; PAYLIANCE, LLC;
                                                                 20 TOUZI CAPITAL, LLC; SEAMLESS CHEX
                                                                    INC; DWOLLA, INC.; STRIPE, INC.; and
                                                                 21 DOES 1 through 100, inclusive,

                                                                 22                    Defendants.

                                                                 23

                                                                 24                    The Court, having considered the “Stipulation for Extension of Time to
                                                                 25 Respond to Amended Complaint for: (1) Injunctive Relief; (2) Avoidance, Recovery, and

                                                                 26 Preservation of Two-Year Actual Fraudulent Transfers; (3) Avoidance, Recovery, and
                                                                 27 Preservation of Two-Year Constructive Fraudulent Transfers; (4) Avoidance, Recovery,

                                                                 28 and Preservation of Four-Year Actual Fraudulent Transfers; (5) Avoidance, Recovery,


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                                                                  1 and Preservation of Four-Year Constructive Fraudulent Transfers; and (6) Turnover” (the

                                                                  2 “Stipulation”), filed by plaintiff Richard A. Marshack (the “Trustee” or “Plaintiff”), the duly

                                                                  3 appointed, qualified, and acting chapter 11 trustee for the estate of the debtor The

                                                                  4 Litigation Practice Group, P.C. (the “Debtor”), on the one hand, and defendants

                                                                  5 Consumer Legal Group, P.C. (“CLG”) and LGS HoldCo, LLC (“LGS” and together with

                                                                  6 CLG, the “Defendants”), on the other hand, and for good cause appearing therefor,

                                                                  7                    IT IS HEREBY, ORDERED, ADJUDGED, AND DECREED as follows:

                                                                  8                    1.   The Stipulation is approved.

                                                                  9                    2.   The deadline for the filing and service of Defendants’ written

                                                                 10 responses to the amended complaint filed in the above-captioned adversary proceeding

                                                                 11 shall be extended from July 24, 2023, to and including October 23, 2023, subject to
                        333 SOUTH GRAND AVENUE, SUITE 3400
                        LOS ANGELES, CALIFORNIA 90071-1406
                         TEL. 213.626.2311 • FAX 954.771.9264




                                                                 12 further extensions for cause shown.
Greenspoon Marder LLP




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                                                                      Date: July 27, 2023
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